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                                                Thursday, April 14, 2022

          Via ECF

          Honorable Matthew J. Skahill, U.S.M.J.
          UNITED STATES DISTRICT COURT, DISTRICT OF NEW JERSEY
          Mitchell H. Cohen Building & U.S. Courthouse, Courtroom 3C
          4th & Cooper Streets
          Camden, NJ 08101

                 RE: Elaine Levins and William Levins v. Healthcare Revenue Recovery Group, LLC,
                     Case No. 1:17-cv-00928-CPO-MJS

          Dear Judge Skahill,

          My office represents Plaintiffs. I write in response to Defendant’s letters filed April 6 [Doc. 105]
          and April 14 [Doc. 106].

          Plaintiffs have no objection to a reasonable extension of time for Defendant to comply with the
          Court’s Order [Doc. 104] and, therefore, consent to the requested extension to May 6, 2022.

          Notwithstanding that Defendant’s letter [Doc. 105] is couched as a request for reconsideration,
          Defendant has not filed any motion to reconsider. See L.Civ.R. 7.1(i). Prior to that letter,
          Defendant never raised proportionality despite being given multiple opportunities to do so.

          I also want to clarify an important fact. In the first full paragraph on page two of the April 6
          letter [PageID 1047], Defendant wrote that its records reflect Plaintiffs were called 68 times. The
          next sentence asserts, “Most of the calls went unanswered and thus no messages were left.”
          (Emphasis added.) While Plaintiffs have no interest in unanswered calls, the record does not
          appear to support Defendant’s statement. At its deposition, Defendant testified that its electronic
          account notes for each collection account contains its records when its telephone dialer system
          reports having left the subject message. An example of those records are reflected in Doc. 101-7.
          By my count, there are 66 of those entries in the account notes for Plaintiffs’ account. Moreover,
          I do not detect any entry for unanswered calls in those notes.

          Thank you for Your Honor’s consideration in this matter.

                                                         Respectfully,
                                                         s/Philip D. Stern
                                                         Philip D. Stern
                                                         KIM LAW FIRM LLC

          cc:   All Counsel of Record




21-015
